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 5

 6
   Attorneys for Defendant Doe 1
 7 And Third-Party Michael J. Schroeder

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10                             UNITED STATES DISTRICT COURT
11                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
12

13                                               Case No. 13-cv-01465 SI
     HARMEET K. DHILLON, an individual,
14
                          Plaintiff,
                                                 DECLARATION OF LORI N. SCHROEDER
15            vs.
16 DOE 1, an unknown individual, and DOES 2      [FILED CONCURRENTLY WITH SUR-REPLY
                                                 BRIEF OF DEFENDANT DOE 1 AND THIRD-
17 through 10,                                   PARTY MICHAEL J. SCHROEDER IN
                                                 OPPOSITION TO PLAINTIFF’S
18                        Defendants.
                                                 ADMINISTRATIVE MOTIONS FOR LEAVE
                                                 TO TAKE LIMITED DISCOVERY PRIOR TO A
19                                               RULE 26(f) CONFERENCE]
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                     DECLARATION OF LORI N. SCHROEDER, Case No. 13-cv-01465 SI
          Case 3:13-cv-01465-SI Document 41-1 Filed 10/25/13 Page 2 of 10




 1                             DECLARATION OF LORI N. SCHROEDER

 2            I, Lori N. Schroeder1, declare and state as follows:

 3            1.      I am an attorney at law duly licensed to practice before all the courts in the State of

 4 California. I have personal knowledge of the matters set forth below, and if called upon to do so,

 5 I could and would testify competently thereto.

 6            2.      I am a Senior Associate at The Cigel Law Group, P.C., counsel for Defendant Doe

 7 1 and Third Party Michael J. Schroeder. Doe 1 is an unnamed and unserved defendant and files

 8 this motion under his or her fictitious name in order to preserve anonymity. No reference to Doe

 9 1 in this declaration or in the Sur-reply brief is meant to convey any information about the gender

10 of Doe 1 or the number of individuals involved.

11            3.      In July 2013, I first became aware that Plaintiff had issued a subpoena from the

12 Northern District of California to New Dream Network, LLC (“NDN”) seeking disclosure of Doe

13 1’s identity.

14            4.      Although the subpoena clearly listed an address for NDN, Plaintiff had never

15 notified NDN of her filing an Ex Parte Application for leave to issue the subpoena. (Doc. 2)

16            5.      Plaintiff states that the “Northern District court granted the Ex Parte Application.”

17 Reply Brief at p. 3. By this statement, Plaintiff implies that this Court somehow condoned the

18 subpoena against NDN. Plaintiff’s statement is grossly misleading. The Ex Parte Application
19 was filed on the same day as the Complaint in this matter and contained no notice or proof of

20 service to anyone. (Doc. 2)

21            6.      The Northern District of California granted the ex parte application the very next

22 day, without anyone having notice or an opportunity to be heard. (Doc. 6)

23            7.      Plaintiff sought to enforce the subpoena against NDN in July of 2013 by bringing

24 what she styled as an “Administrative Motion”. Again, she provided no notice or proof of service

25 to NDN. (Doc. 16)

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     1   Despite the same surname, I have no familial relationship to our client, Michael J. Schroeder.
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                          DECLARATION OF LORI N. SCHROEDER, Case No. 13-cv-01465 SI
        Case 3:13-cv-01465-SI Document 41-1 Filed 10/25/13 Page 3 of 10




 1          8.      Despite Plaintiff styling her document as an “Administrative Motion”, the

 2 Northern District of California docket sheet entered it as an “Ex Parte Application”. (Doc. 16)

 3          9.      The Northern District of California Local Rule 7 – 11 states that Administrative

 4 Motions are defined as motions for administrative relief “with respect to miscellaneous

 5 administrative matters, not otherwise governed by a federal statute, Federal or local rule or

 6 standing order of the assigned judge.” Plaintiff wrongly called her motion an “Administrative

 7 Motion”, as it was based on her April 2013 Ex Parte Application, which made reference to Fed.

 8 R. Civ. P. 26 and 45, as well as federal copyright law and Constitutional law.

 9          10.     This Court denied Plaintiff’s administrative motion/ex parte application under Fed.

10 R. Civ. P. 45 because it violated the jurisdictional limits of the rules governing subpoenas. (Doc.

11 19). Despite this clear order indicating that Plaintiff’s original subpoena was fatally flawed,

12 Plaintiff states she reissued it out of the Central District of California to correct a “typographical

13 error.” Reply Brief at p. 3, fn. 3.

14          11.     When Plaintiff reissued the NDN subpoena out of the Central District of

15 California, the subpoena indicated the case was pending in the Northern District of California. In

16 order to familiarize myself with this case and to determine the allegations in the Complaint, I

17 reviewed the case docket on the PACER federal court system on September 16, 2013.

18          12.     In reviewing the federal docket sheet for this case, I discovered by chance that
19 there were two additional “Administrative Motions” pending. I pulled copies of the motions in

20 order to review their content. This was the first time that our firm or either Doe 1 or Michael J.

21 Schroeder learned that Plaintiff had filed motions seeking leave to serve subpoenas on Google,

22 Inc. and Mr. Schroeder.

23          13.     The next day, I telephoned the clerk of this Court, Tracy Kasamoto, and indicated

24 that our firm represents both Doe 1 and Mr. Schroeder in a related matter in the Central District of

25 California. I requested that Doe 1 and Mr. Schroeder be given an opportunity to respond to the

26 “Administrative Motions” listed as “Ex Parte Applications” as Docket numbers 20 and 24.
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                        DECLARATION OF LORI N. SCHROEDER, Case No. 13-cv-01465 SI
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 1          14.    Ms. Kasamoto indicated the motions had not yet been ruled on, and granted me

 2 two weeks, until October 1, 2013, to file any Opposition to the motions. I confirmed the October

 3 1, 2013 due date by email later that day, and a true and correct copy of my email to Ms.

 4 Kasamoto is attached to this declaration as Exhibit “A”.

 5          15.    Attached hereto as Exhibit “B” is a true and correct copy of the first page of the

 6 results of web search on the website www.bing.com/images. I conducted this web search on

 7 October 25, 2013 and entered the search terms “Harmeet Dhillon photo.”

 8          I declare under penalty of perjury under the laws of the State of California that the

 9 foregoing is true and correct and that this declaration was executed on October 25, 2013 at Los

10 Angeles, California.

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12                                              ____________/s/___________________

13                                              Lori N. Schroeder

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                       DECLARATION OF LORI N. SCHROEDER, Case No. 13-cv-01465 SI
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                     Exhibit “A”
                  Case 3:13-cv-01465-SI Document 41-1 Filed 10/25/13 Page 6 of 10


Lori Schroeder

From:                             Tracy_Kasamoto@cand.uscourts.gov
Sent:                             Tuesday, September 17, 2013 2:21 PM
To:                               Lori Schroeder
Subject:                          Re: Dhillon v. Doe 1, Case No. 13-cv-01465


Oh.. Thank you for writing the confirmation!

Very helpful!




 From:      Lori Schroeder <Lori.Schroeder@cigellawgroup.com>

 To:       "tracy_kasamoto@cand.uscourts.gov" <tracy_kasamoto@cand.uscourts.gov>

 Date:     09/17/2013 02:19 PM

 Subject: Dhillon v. Doe 1, Case No. 13‐cv‐01465




Dear Ms. Kasamoto,

Thank you for speaking to me this morning regarding the above‐referenced case. As I indicated by telephone, this firm
represents Michael J.
Schroeder, who is named in Plaintiff’s Administrative Motion for Leave to Take Limited Discovery, Doc. No. 24. We will
be filing an Opposition to this motion on Mr. Schroeder’s behalf. This email is to confirm that we have until October 1,
2013 to file this Opposition.

Again, I appreciate you taking the time to speak to me regarding this matter.

Very truly,
Lori Schroeder



Lori Schroeder, Esq.
The Cigel Law Group, P.C.
10866 Wilshire, Blvd., Suite 400
Los Angeles, California 90024‐4338
Tel: 424‐901‐8513|Fax: 424‐901‐8514
                                                            1
                                                                                                Exhibit A, p. 1.
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Lori.Schroeder@Cigellawgroup.com

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message (or responsible for delivery of the message to such person), you may not copy or deliver this message to
anyone. In such case, you should destroy this message and kindly notify the sender by reply email. Please advise
immediately if you or your employer does not consent to Internet email for messages of this kind. Opinions, conclusions
and other information in this message that do not relate to the official business of my firm shall be understood as
neither given nor endorsed by it.

IRS Circular 230 Disclosure: To ensure compliance with Treasury Department Regulations, we advise you that, unless
otherwise expressly indicated, any federal tax advice contained in this communication was not intended or written to be
used, and cannot be used, for the purpose of (i) avoiding tax‐related penalties under the Internal Revenue Code or
applicable state or local tax law provisions or (ii) promoting, marketing or recommending to another party any tax‐
related matter addressed herein.




                                                           2
                                                                                              Exhibit A, p. 2.
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                      Exhibit “B”
Harmeet Dhillon photo - Bing Images
                                                                                     WEB    IMAGES     VIDEOS     MAPS   NEWS   MORE
                                                                                                                                                                                                                                                                                              Sign in
                                                                                     Harmeet Dhillon photo                                                   Submit                                                                                                                                     
                                                                                                                                                                                                                                                                                                4 of 5
                                                                      Size   Color       Type     Layout        People   Date    License                                                                                                                      SafeSearch: Moderate   1,390 RESULTS




                                                                                                                                                                                                                                                                                                      Exhibit B, p.1.
                                                                      California Republican Party Candidates               Harmeet         Dhillon   Harmeet Dhillon   Harmeet Dhillon   CA Rep Party   Harmeet Dhillon   Republican Party of San Francisco
                                                                                                                           Kaur Dhillon    Smith     Divorce           San Francisco                    for Senate
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                                                                                                                                                                                                                                                                                          Feedback
http://www.bing.com/images/search?q=Harmeet+Dhillon+photo&qs=n&form=QBIR&pq=harmeet+dhillon+photo&sc=1-21&sp=-1&sk=[10/25/2013 2:18:12 PM]
      Case 3:13-cv-01465-SI Document 41-1 Filed 10/25/13 Page 10 of 10




 1                                               PROOF OF SERVICE

 2   UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3
     CASE NAME: HARMEET K. DHILLON v. DOE 1
 4   CASE NO.   C 13-1465 SI

 5           The undersigned declares: I am a resident of the United States and am employed in the
     City and County of Los Angeles, State of California; I am over the age of eighteen years and
 6
     not a party to the within action; my business address is 10866 Wilshire Boulevard, Suite 400,
 7   Los Angeles, California 90024.

 8            On October 25, 2013, I served the following documents:

 9       1.   SUR-REPLY BRIEF OF DEFENDANT DOE 1 AND THIRD-PARTY MICHAEL J. SCHROEDER
              IN OPPOSITION TO PLAINTIFF’S ADMINISTRATIVE MOTIONS FOR LEAVE TO TAKE
10            LIMITED DISCOVERY PRIOR TO A RULE 26(f) CONFERENCE

11       2.   DECLARATION OF LORI N. SCHROEDER

12            By serving in the manner described below to the interested parties herein and addressed to:

13   Harold P. Smith                                            Joel Voelzke
     Krista L. Shoquist                                         Intellectual Property Law Office of Joel Voelzke
14   Dhillon & Smith, LLP                                       24772 W. Saddle Peak Road
     177 Post Street, Suite 700                                 Malibu, CA 90265-3042
15
     San Francisco, CA 94108
16                                                              Attorney for New Dream Network
     Attorneys for Dhillon
17
       x      ELECTRONIC MAILING: I emailed copies of all documents to the above party(s) at their
18            respective email addresses as shown above.

19            MAIL: I caused such envelope(s) to be deposited in the mail at my business address, with
              postage thereon fully prepaid, addressed to the addressee(s) designated. I am readily familiar
20            with the business practice of collecting and processing correspondence to be deposited with the
21            United States Postal Service on that same day in the ordinary course of business.

22     X      (FEDERAL): I declare that I am employed by the office of a member of the bar of this court at
              whose direction the service was made.
23
         Executed on October 25, 2013 at Los Angeles, California.
24
25                                                                                     /s/
                                                                             Lori N. Schroeder
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                                                       Proof of Service
